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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1660V
                                        UNPUBLISHED


    ROBERT MELE,                                            Chief Special Master Corcoran

                        Petitioner,                         Filed: September 7, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barré Syndrome (GBS)
                       Respondent.


David Matthew Moran, Moran & Moran, Wexford, PA, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On October 25, 2019, Robert Mele filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine administered to him on October 31, 2017. Petition at
3. The case was assigned to the Special Processing Unit of the Office of Special Masters.

        On September 3, 2021, Respondent filed his Rule 4(c) report in which he states
that he does not contest that Petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report at 1. Specifically, Respondent states that “petitioner has
satisfied the criteria set forth in the recently revised Vaccine Injury Table (Table) and the
Qualifications and Aids to Interpretation (QAI), which afford petitioner a presumption of

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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causation if the onset of GBS occurs between three and forty-two days after a seasonal
flu vaccination and there is no apparent alternative cause”. Id. at 8-9.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Brian H. Corcoran
                                 Brian H. Corcoran
                                 Chief Special Master




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